      Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 1 of 20



                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
__________________________________________
 VIVIAN PATZ and MICHAEL PATZ,             )
                                           )
                  Plaintiffs,              ) Civil Action No.: 2:17-cv-03465
      v.                                   )
                                           ) Judge Susie Morgan
 SUREWAY SUPERMARKET, et al.,              ) Magistrate Janis Van Meerveld
                                           )
                 Defendants.               )

            Supplemented Memorandum in Support of Plaintiff’s Renewed Motion
                     for Judgment as a Matter of Law or a New Trial

         Now comes Plaintiff Vivian Patz to request relief under Fed. R. Civ. Pro. 50(b).1

         During trial, Defendants conceded that on April 11, 2016, Vivian Patz told them that that

she was pregnant, had a history of miscarriages, and could not lift more than ten pounds. All

witnesses agreed that Vivian was sent home mid-shift without pay, told not to return without a

doctor’s note, and that there was no back-and-forth dialogue about accommodating Ms. Patz’s

needs.

         At the close of evidence, Vivian Patz’s counsel made an oral motion for judgment as a

matter of law, on the basis that the evidence established several parts of her case.2 Plaintiff here

renews that motion regarding four parts of her case that the undisputed evidence proves:

         1. A violation of Title VII and the Louisiana Pregnancy Discrimination Act (“La.
            PDA”) because Defendants admittedly limited Ms. Patz’s ability to work based on
            her pregnancy on April 11, 2016;3

         2. A violation of the Americans with Disabilities Act (“ADA”) for discrimination based


1
  Plaintiffs first requested relief under Fed. R. Civ. Pro. 50(b) on February 28, 2019, but noted that they
would “supplement this brief with citations to the transcript of trial once that transcript is obtained.” R.
Doc. 162-1 at 1.
2
  R. Doc. 215 (Trial Transcript, January 30, 2019) at 537:1-538:2.
3
  See, e.g., R. Doc. 213 (Trial Transcript, January 28, 2019) at 225:14-16 (“Q. When you sent Vivian
home on April 11, 2016, was she sent home without pay? A. She was sent home without pay.”); R. Doc.
214 (Trial Transcript, January 29, 2019) at 246:6-18, 247:21-24.



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      Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 2 of 20



            on a “regarded as” impairment;4

        3. A violation of the ADA for discrimination based on failure to make a reasonable
           accommodation; and

        4. A violation of the ADA because Defendants conceded they never engaged in the
           interactive process of seeking accommodation.5

        None of these four require this Court to upset the jury’s determination of the core disputed

issue in this case – the reason for Ms. Patz’s firing. Instead, taking Defendants’ proffered reason

for Ms. Patz’s termination as a given, this motion shows how the undisputed facts laid out at trial

lead to a finding for Plaintiff on certain other parts of her case.

        Plaintiff thus renews her Rule 50(a) motions and requests that this Court grant a judgment

as a matter of law or, in the alternative, a new trial.

    LEGAL STANDARD FOR JUDGMENT AS MATTER OF LAW OR A NEW TRIAL

        Under Federal Rule of Civil Procedure 50(a)(2), a “motion for judgment as a matter of law

may be made at any time before the case is submitted to the jury.” The trial judge must direct a

verdict if, under the governing law, there can be only one reasonable conclusion as to the verdict.

Anderson v. Liberty Lobby, 477 U.S. 242, 251 (1986). If the court does not grant a Rule 50(a) made

prior to submission of the case to the jury, the movant may renew the motion under Rule 50(b).

Fed. R. Civ. Pro. 50. Under Federal Rule of Civil Procedure 50(b), the Court must find that “a

reasonable jury would not have a legally sufficient evidentiary basis” to find for the defendant on

the specific issues raised.

        In ruling on a renewed Rule 50 motion, the Court may direct the entry of judgment as a

matter of law, or, in the alternative, order a new trial. Fed. R. Civ. Pro. 50(b)(2)-(3). The Court has


4
 See, e.g., R. Doc. 217-4 (“Trial Exhibit 4, Vivian Patz’s Personnel File”).
5
 R. Doc. 214 at 244:2-5 (“Q. Did you have a back-and-forth dialogue with Vivian during that
conversation on April 11th about what type of accommodations she might need? A. No.”), 401:23-
402:16.



                                                   2
      Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 3 of 20



broad discretion in granting new trials, and may set aside a verdict even though there is substantial

evidence to support it. See Allied Chem. Corp. v. Daiflon, Inc., 449 U.S. 33, 36 (1980) (“The

authority to grant a new trial, moreover, is confided almost entirely to the exercise of discretion on

the part of the trial court.”); Peterson v. Wilson, 141 F.3d 573, 577 (5th Cir. 1998). On a motion

for new trial, the court need not view the evidence in the light most favorable to the verdict winner.

Revolution Eyewear, Inc. v. Aspex Eyewear, Inc. 563 F.3d 1358, 1371 (Fed. Cir. 2009); U.S. ex rel

Garibaldi v. Orleans Parish School Bd., 46 F. Supp. 2d 546, 552 (E.D. La. 1999). Thus, a motion

for a new trial is a “much more lenient test” than for renewed judgment as a matter of law (Wright

& Miller § 2531), and will not be upset upon appeal unless an abuse of discretion (Jones v. Wal-

Mart Stores, Inc., 870 F. 2d 982, 986 (5th Cir. 1989)).

                    UNDISPUTED EVIDENCE PRESENTED AT TRIAL

        Shelly Jambon, the sole owner of Defendant Walter H. Maples, Inc., testified that she

initiated a conversation on April 11, 2016 with Vivian Patz when she found out that Vivian was

not lifting objects in the store.6 She testified that Vivian Patz told her four things in that

conversation: (1) that she was or might be pregnant,7 (2) that she had a history of miscarriages,8

(3) could not lift more than ten pounds,9 and (4) felt sick.10 Likewise, the contemporaneous note

written by Denise Esponge on April 11, 2016 stated: “Said she could not lift anything over 10 lbs

because she was pregnant. Asked for a doctor’s excuse – has not seen a doctor. Told her to go see

one and bring excuse back.”11 Ms. Jambon and Ms. Esponge conceded that Ms. Patz did not ask




6
  R. Doc. 213 at 231:14-16.
7
  Id. at 231:20-24.
8
  Id. at 233:9-13.
9
  Id. at 231:25-232:6.
10
   Id. at 231:20-24.
11
   R. Doc. 217-4.



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      Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 4 of 20



for time off; instead, was Ms. Jambon’s order.12

        As a result of that conversation, all witnesses with personal knowledge, including Ms. Patz,

Ms. Jambon, and Ms. Esponge, testified that Ms. Patz was sent home mid-shift without pay and

told not to return without a doctor’s note.13 Ms. Jambon testified that she asked Ms. Patz to not

continue working, and that Ms. Patz was not given any accommodations for her job on April 11,

2018.14 Ms. Jambon conceded that she did not engage in any back and forth dialogue about Ms.

Patz’s needs.15

        Ms. Jambon and Lovie Verdin testified that Ms. Jambon instructed Ms. Verdin to submit

the separation notice on April 15, 2016, after Ms. Verdin spoke on the phone with Ms. Patz.16 Ms.

Patz testified that she was not notified that she was terminated on that date.17 Ms. Verdin testified

that she did not call Ms. Patz back before filling out the separation notice.18 Ms. Jambon testified

that she never spoke to Ms. Patz on April 15, 2016 and never told Ms. Patz that she was fired.19

                                     LAW AND ARGUMENT

I.      Plaintiff Vivian Patz is entitled to a judgment as a matter of law under Title VII and
        the Louisiana Pregnancy Discrimination Act because Defendants conceded that they
        limited Ms. Patz’s ability to work by sending her home without pay on April 11, 2016.

        Under Title VII, it is unlawful for an employer “to limit, segregate, or classify his

employees or applicants for employment in any way which would deprive or tend to deprive any




12
   R. Doc. 214 at 247:21-24, 401:1-18.
13
   Vivian Patz (R. Doc. 213 at 112:2-9); Shelly Jambon (R. Doc. 213 at 225:14-16; R. Doc. 214 at 246:6-
18, 247:21-24); Denise Esponge (R. Doc. 214 at 401:17-18, 404:24-405:1).
14
   See, e.g. R. Doc. 214 at 247:21-24.
15
   R. Doc. 214 at 244:2-5 (“Q. Did you have a back-and-forth dialogue with Vivian during that
conversation on April 11th about what type of accommodations she might need? A. No.”).
16
   Shelly Jambon (R. Doc. 214 at 277:5-15); Lovie Verdin (R. Doc. 214 at 432:6-435:13).
17
   R. Doc. 213 at 125:16-127:25, 162:15-16 (“Q. And so, you did not know you were terminated on the
15th? A. No, ma'am.”).
18
   R. Doc. 214 at 435:3-13.
19
   Id. at 272:8-10.



                                                   4
       Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 5 of 20



individual of employment opportunities” if the employee’s pregnancy was a “motivating factor.”

42 U.S.C. 2000e-2(a)(2), (m).20 Under this prohibition of Title VII, a plaintiff must prove: (1) she

belonged to a protected class, (2) she suffered an adverse employment action, such as a “limit” on

employment opportunities; and (3) that her pregnancy was at least one motivating factor among

others in the adverse employment action.

        Here, all three elements were uncontroverted at trial: Ms. Patz was pregnant, her

employment opportunities were limited when they sent her home from work, and Defendants sent

her home from work at least in part because she might be pregnant.21

     1. Undisputed testimony at trial established that Plaintiff Vivian Patz belonged to a protected
        class.

        Pregnant people are a protected class under Title VII. 42 U.S.C. § 2000e(k). Here, the

uncontroverted evidence at trial established that in April of 2016, Vivian Patz was pregnant. Vivian

and Michael both testified that Vivian had taken multiple positive pregnancy tests in the early

spring of 2016, well before she was sent home on April 11, 2016.22 Additionally, Plaintiffs entered

into evidence Kylie Patz’s November 14, 2016 birth certificate.23 No witness disputed that Vivian




20 The Louisiana Pregnancy Discrimination Act has the same prima facie elements as Title VII. Suire v.
LCS Corr. Servs, Inc., 930 So. 2d 221, 224 (La. App. 3 Cir. 2006) (Louisiana courts analyze cases under
the Louisiana Pregnancy Discrimination Act following the analysis set forth in federal cases for
discrimination under Title VII), citing Brittain v. Family Care Serv., Inc., 34,787, pp. 4-5 (La.App. 2 Cir.
6/20/01), 801 So.2d 457, 460-61).
21
   Here, because there is direct evidence of discrimination, there is no need to apply the McDonnell Douglas
burden-shifting framework commonly applied in discrimination cases. The inquiry may proceed directly to
the question of liability. Stonev. Parish of East Baton Rouge, 329 Fed. Appx. 542, 545 (5th Cir. 2009);
EEOC v. Danny’s Restaurant, 16-CV-00769, 2018 U.S. Dist. LEXIS 168641 (S.D.Miss. Sept. 30, 2018).
22
   R. Doc. 213 at 108:21-23 (“Q. How did you find out you were pregnant? A. I was having symptoms,
and then so I went ahead and got several pregnancy tests, and every one came up positive.”); R. Doc. 214,
455:7-10.
23
   R. Doc. 217-3 (“Trial Exhibit 3, Kylie Patz Birth Documents”); R. Doc. 217-13 (“Trial Exhibit 13,
Medical Rec. Vivian Patz – Oschner Patient Health Summary”); R. Doc. 217-14 (“Trial Exhibit 14,
Medical Rec. Vivian Patz – Oschner Visit 4/15/2016”).



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        Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 6 of 20



was, in fact, pregnant.24 As such, Plaintiff Vivian Patz belonged to a protected class.

      2. Defendants conceded at trial that they limited Ms. Patz’s employment opportunities when
         they sent her home mid-shift without pay and took her off the schedule.

         An employee may be found to have suffered an adverse employment action under 42

U.S.C. § 2000(e)-2(a) if there is an “objective showing of a loss in compensation, duties, or

benefits.” Pegram v. Honeywell, Inc., 361 F.3d 272, 282 (5th Cir. 2004); see Hernandez v. Sikorsky

Support Servs., Inc. (5th Cir. 2012); Green v. Administrators of Tulane Educational Fund, 284

F.3d 642, 657 (5th Cir. 2002). Adverse employment actions include any action to “limit” an

employee “in any way which would deprive or tend to deprive any individual of employment

opportunities.” 42 U.S.C. 2000e-2(a)(2), (m).

         Thus, sending an employee home before the end of her shift without compensation is an

adverse employment action. EEOC v. Danny’s Restaurant, et al., C.A. No. 3:16-CV-00769-HTW-

LRA, 2018 U.S. Dist. LEXIS 168641 (S.D. Miss. Sept. 30, 2018) (holding that sending plaintiffs

home before a scheduled shift was an adverse employment action because plaintiffs could not

work and lost all potential earning from that shift). Preventing an employee from working a

scheduled shift negatively impacts the employee’s opportunity as contemplated under Title VII.

Id.

         Here, all parties agreed that Ms. Patz was sent home in the middle of her shift and was




24
  Defendants testified at trial that Ms. Patz only told them that she thought she might be pregnant, not that
she was pregnant. However, for Title VII purposes, the distinction is meaningless – a plaintiff is considered
a member of the protected class whether she was actually pregnant or was only potentially pregnant.
International Union v. Johnson Controls, Inc, 499 U.S. 187 (1991) (“potential for pregnancy . . . must be
regarded, under the PDA, in the same light as explicit sex discrimination.”), In re Union Pacific R.R.
Employment Prac. Lit., 479 F.3d 936 (8th Cir., 2007) (“the Court held that discriminating against women
on the basis of potential pregnancy was a violation of Title VII, as amended by the PDA.”); Kocak v.
Community Health Partners of Ohio, Inc., 400 F.3d 466 (6th Cir., 2005) (“Kocak cannot be refused
employment on the basis of her potential pregnancy.”).



                                                     6
       Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 7 of 20



taken off the schedule for the remainder of the week.25 Shelly Jambon and Denise Esponge both

testified that Vivian was sent home without pay, which was also established by Defendants’ payroll

records for Ms. Patz for the week of April 11, 2016. During her January 29, 2019 testimony, Ms.

Esponge explicitly agreed that Vivian was “limited” in her ability to work for pay due to being

sent home mid-shift. Being sent home mid-shift without pay prevented Vivian Patz from earning

the rest of her paycheck that shift and subsequent shifts.26

        Because the evidence at trial showed, and Defendants concede, that Ms. Patz employment

opportunities were “limited” when she was sent home mid-shift without pay and taken off the

schedule, the adverse employment action element is met.

     3. Uncontroverted testimony at trial established that Plaintiff Vivian Patz’s pregnancy was
        at least a motivating factor in her suffering an adverse employment action.

        Under 42 U.S.C. 2000e-2(m), adverse employment actions are illegal when a protected

status is at least a motivating factor for the action. This is so even if “other factors also motivated

the practice.” 42 U.S.C. 2000e-2(m).

        Ms. Jambon testified at trial that Vivian told her four things in their April 11, 2016

conversation: (1) that she was or might be pregnant,27 (2) that she had a history of miscarriages,28

(3) could not lift more than ten pounds,29 and (4) felt sick.30 The contemporaneous note of their

conversation stated: “Said she could not lift anything over 10 lbs because she was pregnant. Asked




25
   See, e.g., R. Doc. 213 at 225:14-16 (“Q. When you sent Vivian home on April 11, 2016, was she sent
home without pay? A. She was sent home without pay.”); R. Doc. 214 at 246:6-18, 247:21-24, 297:10-13
(“Q. So, when this schedule was written, Vivian was put on it? A. Correct. Q. And she was later crossed
off? A. Correct.”).
26
   Sending Ms. Patz home also meets the “segregation” prohibition of 42 U.S.C. 2000e-2(a)(2), (m), as she
was literally physically segregated from other employees.
27
   R. Doc. 213 at 231:20-24.
28
   Id. at 233:9-13.
29
   Id. at 231:25-232:6.
30
   Id. at 231:20-24.



                                                   7
      Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 8 of 20



for a doctor’s excuse – has not seen a doctor. Told her to go see one and bring excuse back.”31 Ms.

Jambon testified that as a result, she sent Vivian home mid-shift without pay.32

        Only one of the four things Ms. Jambon says Vivian told her (that she was not feeling well)

is even arguably not pregnancy-related. The other three were explicitly pregnancy related. Thus,

because three of the four facts that prompted Ms. Jambon to send Vivian home mid-shift without

pay were explicitly pregnancy-based, it is established that pregnancy was at least a motivating

factor in sending Ms. Patz home, even if “other factors also motivated the practice.”33 The motion

should therefore be granted.

II.     Vivian Patz is entitled to a judgment as a matter of law for Defendants’ violation of
        the ADA under the “regarded as” definition of disability.

        The ADA prohibits adverse employment actions against employees who are defined as

individuals with disabilities under 42 U.S.C. § 12102(1). That statute provides three definitions

for the term “disability.” 42 U.S.C. § 12102(1). It can be either “(A) a physical or mental

impairment that substantially limits one or more major life activities, (B) a record of such an

impairment, or (C) being regarded as having [an impairment].” 42 U.S.C. § 12102(1). Ms. Patz

moved for her Rule 50(a) motion that Defendants discriminated against her under this third

definition of an individual with a disability: that she was regarded as having an impairment.

        An individual is “regarded as” having an impairment if she has been subjected to

discrimination because of an actual or perceived impairment, whether or not it limits or is

perceived to limit a major life activity. 42 US.C. § 12102(3)(A) (emphasis added). This prong



31
   R. Doc. 217-4.
32
   See, e.g., R. Doc. 213 at 225:14-16 (“Q. When you sent Vivian home on April 11, 2016, was she sent
home without pay? A. She was sent home without pay.”)
33
   Cf. Fn. 5, supra, Title VII makes no distinction between someone who might be pregnant and someone
who is actually pregnant. International Union v. Johnson Controls, Inc, 499 U.S. 187 (1991) (“potential
for pregnancy . . . must be regarded, under the PDA, in the same light as explicit sex discrimination.”),



                                                    8
      Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 9 of 20



protects individuals from employers who make decisions based on stereotypes and prejudice for

the disabled. Cannon v. Jacobs Field Services North America, 813 F. 3d 586, 591 (5th Cir. 2016)

(“The amended ‘regarded as’ provision reflects the view that ‘unfounded concerns, mistaken

beliefs, fears, myths, or prejudice about disabilities are just as disabling as actual impairments.’”),

quoting 29 C.F.R. Pt. 1630, App. § 1630.2(1).

        On day four of the trial on this matter, this Court denied all of Plaintiff’s Rule 50(a) ADA

motions on the grounds that a reasonable jury could reach different conclusions on whether

Plaintiff Vivian Patz was disabled as defined by the ADA.34 The Court relied on pre-2008, pre-

ADA Amendments Act (ADAAA)35 caselaw defining disabilities: Ray v. Glidden Company, 85

F.3d 227 (5th Cir. 1996) and Moody v. M.W. Kellogg Company, 176 F.3d 479 (5th Cir. 1999).36

Both of these cases are distinguishable from the present case on the matter of “regarded as” prong.

        The Fifth Circuit limited the Ray interpretation of the “regarded as” prong of disability in

EEOC v. EI Du Pont de Nemours & Company, 480 F.3d 724 (5th Cir. 2007). In this case, the court

found that because the employer in Ray regarded the employee as only being partially limited in

his abilities because of the lifting restriction, the “regarded as” prong was not met. In contract, the



34
   R. Doc. 216 at 578:5-579:4. This additional legal briefing flows directly from the receipt of the
transcript and Plaintiff’s ability to review the cases orally cited by this Court.
35
   “Disability” under the ADA was never intended to be a restrictive inquiry. In 2008, the United States
Congress passed the ADA Amendments Act of 2008 (ADAAA), Pub.L. No. 110–325, 122 Stat. 3553,
which ushered in significant amendments that widened the definition and coverage of “disability.” See 42
U.S.C. § 12102(4)(A). Congress specifically found that “[t]he definition of disability shall be construed in
favor of broad coverage of individuals under this Act, to the maximum extent permitted by the terms of
this Act.” Neely v. PSEG Texas, Ltd. Partnership, 735 F.3d 242, 245 n.4 (5th Cir. 2013). To that end, the
amendments broadened the scope of the words “substantially limits” and “major” in the ADA's definition
of disability. Neely, 735 F.3d at 245. The Fifth Circuit recently commented that these amendments “make
it easier for people with disabilities to obtain protection under the ADA.” Cavazos v. Donahue, 2016 WL
3654766, at *6 (S.D.Tex., 2016) (quoting Cannon v. Jacobs Field Services N. Am., Inc., 813 F.3d 586,
590 (5th Cir. 2016)).
36
   Post-ADAAA caselaw suggests that whether a pregnancy-related lifting restriction meets the ADA
definition of disability does present a triable issue of fact. Heatherly v. Portillo’s Hot Dogs, Inc., No. 11-
8480, 2013 WL 3790909, at *5-6 (N.D. Ill. July 19, 2013).



                                                      9
     Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 10 of 20



employer in EI Du Pont de Nemours & Company regarded their employee as restricted from all

job tasks due to her impairment. 480 F.3d 724 at 729-30. Similarly, the employer in Moody did

not perceive the employee as limited at all in her work duties. 176 F.3d 479 at *4.

        The uncontroverted evidence at bar indicates that Defendant Sureway Supermarket

regarded Plaintiff Vivian Patz much more like the employer in EI Du Pont de Nemours & Company

than the employer in Ray or the employer in Moody. Defendant Sureway Supermarket did not

regard Plaintiff Vivian Patz as only restricted from a narrow range of jobs. The testimony presented

at trial demonstrated that once Plaintiff Vivian Patz told Shelly Jambon that she had high-risk

pregnancies in the past and had a lifting restriction Ms. Jambon felt Plaintiff Vivian Patz could not

work any aspect of any job at Sureway until she brought a doctor’s note. 37 Ms. Jambon believed

that because Plaintiff Vivian Patz did not feel well, she could not continue to work.38

        To prove her claim under the “regarded as” prong of the ADA, Plaintiff Vivian Patz must

prove that (1) she was a qualified employee, (2) she was regarded as having a physical impairment

by Defendant, and (3) there was a nexus between the adverse employment action and her physical

impairment. See EEOC v. LHC Group, Inc., 773 F. 3d 688, 697 (5th Cir. 2014).




37
   R. Doc. 214 at 245:11-24 (Q. So, she told you that in her previous pregnancy she had a
ten-pounds lifting restriction, correct? A. Correct. Q. And you say that she told you she thought she might
be pregnant, correct? A. She thought she might be pregnant. Q. And she said that she couldn't lift ten
pounds because she thought she might be pregnant, correct? A. And she wasn't feeling well, correct. Q.
Did you ask her if there was anything that you could do to accommodate her at work that day?…A. No.);
R. Doc. 214 at 249:16-24 (Q. She did not ask to go home, correct? A. Correct. She did not ask to go
home. She said she wasn't feeling well, and she had had a miscarriage, a risky pregnancy. I'm assuming
were both the same thing. So, in that conversation, I mean (Witness trails off). Q. When you heard her say
those things you told her to go home and not to come back until she had a doctor's note, correct? A.
Correct.); R. Doc. 214 at 363:20-23 (Q. You asked for the note because you needed to know what her
limitations were, correct? A. Because she said she wasn't feeling good, so I'm assuming something could
have been going wrong.)
38
   R. Doc. 214 at 252:5-9 (Q. You expected her to know she should check in every day, correct? A. At
least let us know she was okay and that -- when she could return to work. That's what we were asking
because she said she didn't feel good.)



                                                    10
      Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 11 of 20



     1. Uncontroverted testimony at trial established that Plaintiff Vivian Patz was qualified for
        her position.

        A “qualified individual” is one who, with or without reasonable accommodations, can

perform the essential functions of the job. 42 U.S.C. § 12111(8). The term “essential functions”

means the fundamental job duties of the employment position Plaintiff Vivian Patz held: cashier

at Sureway Supermarket.39

        Ms. Jambon testified that the functions of a cashier include scanning groceries, bagging or

boxing groceries, restocking shelves, bringing in shopping carts, and folding t-shirts.40 Ms. Jambon

testified that a cashier at Sureway Supermarket could do their job without lifting heavy objects:

        Q. So, there were ways for a cashier, in 2016, to process a customer's items at
        checkout that didn't require physically lifting the customer's items, correct?
        A. Correct.
        Q. So, you don't dispute that a cashier at Sureway could do their job without lifting
        heavy items, correct?
        A. Correct.

R. Doc. 213 at 231:7-13. Ms. Jambon detailed in her testimony many ways a cashier can

ring up an item without lifting heavy items and that bar codes for heavy items are available

at the register for cashiers to “punch the numbers in” instead of lifting.41 No witnesses

asserted that Ms. Patz was no longer qualified to do her job. Ms. Jambon even stated that

Ms. Patz could have been accommodated and that she would have accommodated her, such

as being asked to stock t-shirts and swimsuits rather than heavier items.42 Because Vivian

could handle all the essential functions of a cashier job at Sureway Supermarket, she was

a qualified employee.



39
   R. Doc. 213 at 105:1-3 (“Q. Okay. When you first worked for Sureway, what was your position there?
A. Cashier”).
40
   Id. at 229:2-17.
41
   R. Doc. 213 at 230:18-231:13.
42
   R. Doc. 214 at 345:2-22.



                                                 11
      Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 12 of 20




     2. Uncontroverted testimony at trial established that Plaintiff Vivian Patz was regarded as
        having a physical impairment by Defendant Walter H. Maples, Inc.

        Under 42 US.C. § 12102(3)(A), an individual meets the requirement of “being regarded as

having such an impairment” if the individual has either an actual or a perceived physical or mental

impairment – whether or not the impairment actually limits or is perceived to limit a major life

activity. In this context, a physical impairment is defined as:

        "[A]ny physiological disorder or condition, cosmetic disfigurement, or anatomical
        loss affecting one or more of the following body systems: neurological;
        musculoskeletal; special sense organs; respiratory, including speech organs;
        cardiovascular; reproductive, digestive, genitourinary; hemic and lymphatic; skin;
        and endocrine."

45 CFR § 84.3(j)(2)(i) (1985), School Bd. of Nassau Cty. v. Arline, 480 US 273, 280 (1987)

(applying this definition to ‘physical impairment’ of 42 US.C. § 12102(3)(A)).

        It is important to note that “impairment” has a much lower threshold than “disability.”43 A

person has an impairment if their condition affects a body system. 45 CFR § 84.3(j)(2)(i). Then, if

that impairment substantially limits a major life activity, it can become a disability. 42 US.C. §

12102(1)(A). But for “regarded as” protections under the ADA, no “disability” is required – only

the much-easier-to-establish “impairment.” 42 US.C. § 12102(1)(C); (3)(A) (regarded as

protections apply “whether or not the impairment limits or is perceived to limit a major life

activity.”)

        And after 2008, the threshold for finding an impairment is very low. That year, Congress

passed the ADA Amendments Act of 2008, which established that “the question of whether an

individual’s impairment is a disability under the ADA should not demand extensive analysis.”



43
  See, e.g., Burton v. Freescale Semiconductor, Inc., 798 F.3d 222, 230, 31 A.D. Cases 1533 (5th Cir.,
2015).



                                                   12
      Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 13 of 20



ADA Amendments Act of 2008, PL 110-325, § 2(b)(5) (emphasis added).44 See Cannon, supra,

813 F.3d at 592 (“The evidence favoring Cannon again easily passes muster under the revised

standard requiring only the perception that he suffered from a physical impairment.”)

        Thus, to prove that Defendants regarded Ms. Patz as having an impairment, all that needs

be shown is that they regarded her as having a condition that “affected” a body system. 45 CFR §

84.3(j)(2)(i). And here, Ms. Jambon testified that Ms. Patz told her that she was or might be

pregnant, suffered high-risk pregnancies in the past, and could not lift over ten pounds. 45 This

testimony was corroborated by the note written on April 11, 2016 which stated: “Said she could

not lift anything over 10 lbs because she was pregnant. Asked for a doctor’s excuse – has not seen

a doctor. Told her to go see one and bring excuse back.”46 This note was placed in Ms. Patz’s

personnel file.47 Defendants put on no evidence that they doubted Ms. Patz’s lifting restriction. To

the contrary, Ms. Esponge testified that Defendants were concerned about Ms. Patz’s safety based

on her lifting restrictions and history of high-risk pregnancies and that is why Ms. Patz was sent

home.48 As such, the uncontroverted evidence was that Defendants regarded Ms. Patz as having a

physical impairment.

     3. Uncontroverted testimony at trial established that there was a nexus between the adverse
        employment actions and Ms. Patz’ impairment.

        Plaintiff Vivian Patz suffered two adverse employments actions: first, she was sent home

mid-shift on April 11, 2016 and taken off the schedule,49 and second, she was terminated on April


44
   For this reason, case law pre-dating the ADA Amendments Act of 2008 (ADAAA) generally should not
be relied upon in determining impairment, because the 2008 amendments were enacted to lower the
standard of functional limitation necessary to show that a person is impaired. Molina v. D.S.I. Renal, Inc.,
11-cv-00028, R. Doc. 17. (W.D. Tex., May 24, 2012), citing 29 CFR § 1630.2(j)(1)(iv).
45
   R. Doc. 213 at 231:20-233:13.
46
   R. Doc. 217-4 (“Trial Exhibit 4, Vivian Patz’s Personnel File”).
47
   Id.
48
   R. Doc. 214 at 412:15-22.
49
   Id. at 246:6-13.



                                                    13
     Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 14 of 20



15, 2016.50 Both actions are prohibited by the ADA as “limiting” an “employee in a way that

adversely affects the opportunities.” 42 U.S.C. § 12112(b)(1). If there was a nexus between either

adverse action and Ms. Patz’s impairment, then an ADA violation is established. See EEOC v.

LHC Group, Inc., supra, 773 F.3d at 697 (nexus means “an adverse employment decision on

account of” the disability).

       Here, all witnesses at trial unanimously agreed that the adverse employment actions flowed

directly from Ms. Patz’ impairment. Ms. Jambon testified that she only began the chain of adverse

employment actions once she heard that Ms. Patz was not lifting heavy things.51 She admitted that

she then learned from Ms. Patz of her pregnancy-related medical condition and her inability to lift

more than ten pounds before making the decision to send Ms. Patz home mid-shift without pay

and take her off the schedule.52

       Ms. Jambon testified that Vivian told her four things in their April 11, 2016 conversation:

(1) that she was or might be pregnant,53 (2) that she had a history of miscarriages,54 (3) could not

lift more than ten pounds,55 and (4) felt sick.56 The contemporaneous note of their conversation

stated: “Said she could not lift anything over 10 lbs because she was pregnant. Asked for a doctor’s

excuse – has not seen a doctor. Told her to go see one and bring excuse back.”57 Ms. Jambon

testified that as a result, she sent Vivian home mid-shift without pay.58

       Thus, the adverse employment action of sending Vivian home flowed directly and




50
   Id. at 272:2-7.
51
   R. Doc. 213 at 231:14-232:6.
52
   Id.
53
   Id. at 231:20-24.
54
   Id. at 233:9-13.
55
   Id. at 231:25-232:6.
56
   Id. at 231:20-24.
57
   R. Doc. 217-4.
58
   R. Doc. 213 at 225:14-16; R. Doc 214 at 246:6-18, 247:21-24.



                                                  14
        Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 15 of 20



explicitly from the perceived impairment. None of the adverse employment actions would have

occurred if Ms. Jambon had not perceived of Vivian as having an issue with lifting. This establishes

at least a nexus between the adverse employment actions and Vivian’s impairment. Accordingly,

Plaintiffs’ motion should be granted.

III.      Plaintiff Vivian Patz is entitled to a judgment as a matter of law under the ADA for
          Defendants’ failure to make a reasonable accommodation.

          At trial, Plaintiff Vivian Patz made a Rule 50(a) motion for Defendants’ violation of the

Americans with Disabilities Act for Defendant’s failure to make a reasonable accommodation.59

The term “accommodation” means making modifications to the workplace that allow a person

with a disability to perform the essential functions of the job, to attain the level of performance

available to similarly situated employees who are not disabled, or to enjoy equal benefits and

privileges of employment as are enjoyed by similarly situated employees who are not disabled. 29

C.F.R. 1630.2(o). Reasonable accommodations may include, but are not limited to: (a) making

existing facilities used by employees readily accessible to and usable by individuals with

disabilities; or (b) job restructuring, part-time or modified work schedules, reassignment to a

vacant position, acquisition or modification of equipment or devices. 42 U.S.C. 12111(9).

          To succeed on her claim for failing to provide a reasonable accommodation, Plaintiff

Vivian Patz must prove that (1) she was a qualified employee if she had been provided with

reasonable accommodations, (2) she was regarded as having a disability; (3) she requested an

accommodation; (4) providing an accommodation would have been reasonable; and (5) Defendant

failed to provide a reasonable accommodation.




59
     R. Doc. 215 at 537:1-538:8.



                                                 15
      Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 16 of 20




     1. Uncontested testimony at trial established that Plaintiff Vivian Patz was a qualified
        employee, and could do her job had she been given a reasonable accommodation.

        As set forth in Section II(1), supra, the undisputed evidence presented at trial, including

Ms. Jambon’s testimony, established that Ms. Patz was a qualified employee under 42 U.S.C. §

12111(8) because she could perform the job of a cashier with her lifting limitation.60 Defendants

did not submit any evidence to the contrary, and in fact confirmed that Ms. Patz was a qualified

employee.61

     2. Undisputed testimony at trial established that Plaintiff Vivian Patz was regarded by
        Defendant as having a physical impairment

        As set forth in Section II(2), supra, the undisputed evidence presented at trial established

that Defendants regarded Ms. Patz as having a physical impairment, namely her pregnancy-related

medical condition and lifting restriction.62 Indeed, that physical impairment was the reason that

Vivian was sent home from work on April 11, 2016.63

     3. Undisputed testimony at trial established that Plaintiff Vivian Patz requested an
        accommodation.

        The undisputed evidence at trial also established that Vivian Patz requested an

accommodation. Ms. Jambon testified that Ms. Patz told her on April 11, 2018 that she could not

lift more than ten pounds:

        Q. Do you recall Vivian telling you that she couldn't lift more than ten pounds?
        A. Correct.
        Q. She did tell you that on April 11th?
        A. She told me she couldn't lift more than ten pounds, and I asked her why. She
        thought she was pregnant, because -- and she wasn't feeling well.

60
   R. Doc. 213 at 231:7-13.
61
   Id.; see also R. Doc. 213 at 226:5-11.
62
   R. Doc. 213 at 231:20-233:13; R. Doc. 217-4 (“Trial Exhibit 4, Vivian Patz’s Personnel File”).
63
   R. Doc. 213 at 233:4-8.



                                                   16
      Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 17 of 20




R. Doc. 213 at 231:25-232:6. Ms. Patz64 and Ms. Esponge65 testified to the same. This was the

accommodation Ms. Patz asked for: to be able to continue doing her job without lifting objects

heavier than ten pounds.66 Ms. Patz testified that she was already doing her job this way by asking

customers to lift the items for her or by ringing up the items with the bar codes.67 It is undisputed

that Ms. Patz asked to do her job without lifting over ten pounds, and thereby asked Defendant for

an accommodation.

     4. Undisputed testimony at trial established that reasonable accommodations were available.

        An employer is not required to make a reasonable accommodation if such accommodations

are not available. However, the undisputed evidence at trial established that reasonable

accommodations were available. Ms. Patz testified that she did her job for several weeks, making

her own minor adjustments at work while performing her job duties. 68 Further, Ms. Jambon

testified that Ms. Patz’s lifting restriction could have easily been accommodated, such as stocking

t-shirts and swimsuits rather than lifting heavy objects.69 Ms. Jambon testified that Ms. Patz could

have done her job without lifting more than ten pounds. For instance, Ms. Jambon testified that

bar codes for heavy items were available at the register that could be used to ring the item up

instead of lifting the item over the flat scanner.70 In fact, Ms. Jambon had accommodated other

similarly situated employees with lifting restrictions in the past without any issue. 71 Defendant

provided no evidence to contest the fact that reasonable accommodations were available.


64
   R. Doc. 213 at 111:5-13.
65
   R. Doc. 214 at 402:24-403:16.
66
   A qualified individual need not use “magic words” to invoke the protections of the ADA. Patton v.
Jacobs Eng'g Grp., Inc., 874 F.3d 437, 444 (5th Cir. 2017).
67
   R. Doc. 213 at 110:11-111:4.
68
   Id.
69
   R. Doc. 214 at 345:2-22.
70
   R. Doc. 213 at 230:14-231:10.
71
   Id. at 209:16-210:16, 212:19-22, 213:2-216:7; R. Doc. 214 at 335:1-9.



                                                   17
       Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 18 of 20



      5. Undisputed testimony at trial established that Defendant did not provide any
         accommodations.

         The undisputed testimony at trial also established that Defendant did not provide any

accommodations to Ms. Patz. Specifically, Ms. Jambon testified that she did not provide Ms. Patz

any accommodation for her impairment.72 Instead, Ms. Jambon testified that she sent Ms. Patz

home on April 11, 2018 and did not allow Ms. Patz to continue working with the lift restriction

requested by her or by providing any other accommodation.73 Ms. Jambon also testified that she

did not allow Ms. Patz to work for the remainder of the week while Ms. Patz was acquiring a

doctor’s note.74 Ms. Patz testified that she could have continued working without lifting more than

ten pounds that April 11th and every day thereafter while she was working to acquire her doctor’s

note.75 Defendant conceded that no accommodation was provided.

         Accordingly, Plaintiffs’ motion should be granted.

IV.      Plaintiff Vivian Patz is entitled to a judgment as a matter of law because Defendants
         conceded at trial that they did not engage in the ADA-required interactive process.

         An employer is required to engage in an “interactive process” with qualifying workers

needing accommodation. EEOC v. Chevron Phillips Chem. Co., 570 F.3d 606, 621 (5th Cir. 2009)

(finding that once an employee’s need for accommodation under the ADA is “known” to the

employer, it then is obligated to commence an “interactive process” – a “meaningful dialogue with

the employee to find the best means of accommodating that disability”) (citing Tobin v. Liberty

Mut. Ins. Co., 433 F.3d 100, 108 (1st Cir. 2005)). This process is meant to “identify the precise

limitations resulting from the disability and potential reasonable accommodations that could

overcome those limitations.” 29 C.F.R. § 1630.2(o)(3). The duty to engage in the interactive


72
   R. Doc. 214 at 242:16-243:4.
73
   Id.
74
   Id.
75
   R. Doc. 213 at 110:11-14.



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     Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 19 of 20



process with a disabled employee is mandatory and “requires communication and good-faith

exploration of possible accommodations.” Kleiber v. Honda of Am. Mfg., 485 F.3d 862, 871 (6th

Cir.2007); Taylor v. Phoenixville Sch. Dist., 184 F.3d 296, 312 (3d Cir.1999); Baert v. Euclid

Beverage, Ltd., 149 F.3d 626, 633-34 (7th Cir.1998). The interactive process has been considered

mandatory in the context of a pregnancy disability. Wanamaker v. Town of Westport Bd. of Educ.,

11 F.Supp.3d 51, 78 (D. Conn., 2014). Further, an employer may not stymie the interactive process

of identifying a reasonable accommodation for an employee’s disability by preemptively

terminating the employee. See Cutrera v. Bd. of Supervisors of La. State Univ., 429 F.3d 108, 113

(5th Cir. 2005); Reyes v. Texas Dep’t of Criminal Justice, No. A-16-CA-0054-SS, 2017 WL

4979844 (W.D. Tex. Oct. 31, 2017).

        Here, Ms. Jambon testified that Ms. Patz explicitly told her on April 11, 2016 that she could

not lift more than ten pounds and that she was pregnant.76 This is corroborated by the April 11,

2016 note in Ms. Patz’s personnel file.77 Ms. Jambon testified that she did not engage Ms. Patz

further in a conversation on what needs she might have or how Ms. Patz could continue working

her job:

        Q.      Did you have a back-and-forth dialogue with Vivian during that conversation on
                April 11th about what type of accommodations she might need?

        A.      No.

R. Doc. 214 at 244:2-5; see also Id. at 245:20-246:5. Ms. Jambon and Ms. Esponge testified that

Ms. Jambon sent Ms. Patz home immediately.78 All witnesses agreed that there was no back-and-

forth dialogue of seeking accommodation prior to Ms. Patz’s termination.79



76
   R. Doc. 213 at 231:25-232:6.
77
   R. Doc. 217-4.
78
   R. Doc. 214 at 242:16-243:4, 401:1-18.
79
   Id. at 244:2-5, 401:23-402:16, 405:20-406:13.



                                                   19
     Case 2:17-cv-03465-SM-JVM Document 220 Filed 05/20/19 Page 20 of 20



       Accordingly, Plaintiff Vivian Patz is entitled to judgment as a matter of law on Defendant’s

failure to engage in the ADA-required interactive process of seeking accommodation.

                                          CONCLUSION

       For the reasons above, Plaintiff Vivian Patz respectfully asks this Court to grant her

judgment as a matter of law or, in the alternative, a new trial.



                                       Respectfully Submitted,

                                       VIVIAN PATZ, by and through counsel,

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